                       DECISION AND JUDGMENT ENTRY
In 1998, appellant, Phillip Pelton, was charged in separate indictments with two counts of gross sexual imposition. The indictments arose out of incidents involving separate victims, but in each case appellant was accused of having sexual contact with a preteen girl for whom he was babysitting. The cases were joined for trial and appellant's later motion for severance was denied. Appellant then pled no contest, was found guilty and sentenced to imprisonment.
Appellant now appeals his conviction and sentence, asserting that the trial court abused its discretion when it denied his motion to sever.
Pursuant to 6th Dist.Loc.App.R. 12(C), we sua sponte
transfer this matter to our accelerated docket and, hereby, render our decision.
As the trial court properly noted when denying appellant's severance motion, the facts here are nearly identical to those inState v. Hackney (Aug. 30, 1993), Clermont App. No. CA92-12-118, unreported, in which a denial of a severance motion was affirmed. See, also, State v. Carter (Mar 10, 2000), Lucas App. No. L-97-1334, unreported, at 6-7. Appellant concedes that, as in Hackney, the circumstances giving rise to each charge are substantially alike, save the identity of the victim and the date of the offense. Given this, we cannot say that the trial court's decision to follow theHackney analysis was an abuse of discretion.
Accordingly, appellant's sole assignment of error is not well taken.
The judgment of the Lucas County Court of Common Pleas is affirmed. Costs to appellant.
JUDGMENT AFFIRMED.
 MELVIN L. RESNICK, J., JUDGE, JAMES R. SHERCK, J., JUDGE, RICHARD W. KNEPPER, P.J., JUDGE, CONCUR.